Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                          Document     Page 1 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                          Document     Page 2 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                          Document     Page 3 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                          Document     Page 4 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                          Document     Page 5 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                          Document     Page 6 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                          Document     Page 7 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                          Document     Page 8 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                          Document     Page 9 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                         Document     Page 10 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                         Document     Page 11 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                         Document     Page 12 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                         Document     Page 13 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                         Document     Page 14 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                         Document     Page 15 of 16
Case 23-10167   Doc 1   Filed 08/29/23 Entered 08/29/23 15:40:16   Desc Main
                         Document     Page 16 of 16
